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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

 ERIC BLATTMAN, individually and as an               )
 assignee of certain former members of E2.0          )
 LLC, LAMB FAMILY LLC, and DAVID                     )
 STAUDINGER,                                         )
                           Plaintiffs/Counterclaim   )
                           Plaintiffs                )
                                                     ) C.A. No. 1:15-cv-00530-CFC
                          v.                         )
                                                     ) CONSOLIDATED
 THOMAS M. SIEBEL, DAVID                             )
 SCHMAIER, JOHN DOE 1, AND                           )  PUBLIC VERSION
 JANE DOE 2,                                         )
                                                     )
                    Defendants,                      )
                                                     )
 C3, INC. d/b/a C3 IoT,                              )
                                                     )
                           Defendant/Counterclaim    )
                           Defendant.                )

  DEFENDANTS’ OPENING BRIEF IN SUPPORT OF THEIR RENEWED
               MOTION FOR ATTORNEYS’ FEES


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                                  INTRODUCTION

       This action involved extremely serious but unsubstantiated, and ultimately

 disproven, allegations by lead-plaintiff Eric Blattman and other former E2.0

 unitholders (“Plaintiffs”) who, for more than six years, falsely accused defendants

 C3.ai, Thomas Siebel, and David Schmaier (“Defendants”) of federal securities

 fraud, Delaware common law fraud, crime-fraud, and breach of a merger

 agreement between Efficiency 2.0 (“E2.0”) and C3. The significance of these

 allegations to the Defendants, their reputations, and their livelihood and future

 prospects cannot be overstated. Allegations of fraud, even if false and unproven,

 cast a cloud of uncertainty over the accused. For a (now-successful) start-up like

 C3, allegations of fraud can impact fundraising and market perception to the

 detriment of company shareholders. For notable business people like Messrs.

 Siebel and Schmaier, in addition to causing enormous damage to the shareholders

 of the companies they run, the consequences are potentially career ending. As a

 result of the severity of the allegations and their potential consequences, it was an

 absolute necessity—and fiduciary obligation of Mr. Siebel in his role as CEO of

 C3—that Messrs. Siebel and Schmaier mount a thorough and rigorous defense.

       As a result of Defendants’ legal defense efforts, Plaintiffs’ allegations were

 consistently rejected throughout this case. Plaintiffs’ suit was transferred in June

 2015, after a court rejected their “specious argument” that the case belonged in



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 New York rather than Delaware (D.I. 45, at 2); the allegations of crime-fraud were

 rejected after extensive briefing and an in camera inspection of the documents at

 issue in December 2017 (D.I. 304, at 1); Plaintiffs’ sole damages expert was

 excluded pre-trial in February 2019 (see D.I. 362); and following a seven-day

 bench trial, the District Court rejected each and every one of Plaintiffs’ claims in

 January 2020. (D.I. 376, at 51.) In doing so, the District Court repeatedly found

 that Plaintiffs provided testimony that “lacked credibility.” (D.I. 376, at 11; see

 also id. at 21 (“I give no credit to [Plaintiffs’ witness Andy] Frank’s trial

 testimony”); id. at 22 (“I similarly will disregard Blattman’s testimony”); id.at 31

 (the District Court “did not find” Blattman to be a “credible witness”).)

       Plaintiffs nevertheless pressed forward for six years, necessitating the

 continued expenditure of time and expense by Defendants to disprove the

 meritless, but serious, allegations of fraud and deliberate misconduct levied against

 them. In February 2021, the Third Circuit “affirm[ed] the judgment and orders of

 the District Court.” Blattman et al. v. Siebel et al., Case No. 20-01417 (“3d Cir.

 Opinion”), D.I. 45, at 13 (3d Cir., Feb. 17, 2021). Given this conclusive rejection

 of their claims, Plaintiffs are indisputably responsible for reimbursing Defendants

 for “their reasonable attorneys’ fees, costs, and disbursements” under the parties’

 Merger Agreement. (D.I. 376, at 51; 3d Cir. Opinion, at 13.)

       True to form, Plaintiffs sought to avoid this obligation by presenting



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 misleading and inaccurate arguments. When Defendants moved for fees following

 the District Court’s judgment, Plaintiffs characterized the number of firms and

 attorneys employed by Defendants, and the time they spent and fees incurred, as

 “completely out of proportion to the demands of this case,” calling them

 “excessive, redundant, or otherwise unnecessary.” (D.I. 387, at 1, 13-14.) At the

 same time, Plaintiffs refused to provide any information regarding the number of

 firms they hired, the attorneys they employed, or the time they and their lawyers

 spent on this lawsuit.

          The evidence has again exposed Plaintiffs’ lack of integrity and efforts to

 mislead the court. On April 30, 2021, against Plaintiffs’ objection (D.I. 414, at 3-

 4), the District Court ordered Plaintiffs to produce invoices from their own

 counsel. (D.I. 416, at ¶2.) When this information was provided on May 10, 2021,

 it was immediately apparent why Plaintiffs had resisted its production—it

 conclusively disproves Plaintiffs’ statements. For example:

     Plaintiffs’ Inaccurate Assertion               Defendants       Plaintiffs1
     Defendants hired too many law firms.           5 law firms      5 law firms
     (D.I. 387, at 15.)
     Defendants used too many attorneys.            23 attorney      26 attorney
     (D.I. 387, at 15-17.)                          timekeepers      timekeepers
     Defendants’ attorneys spent too much           ~12,600          ~13,700 attorney
     time on the case. (D.I. 387, at 13-14; D.I.    attorney hours   hours

 1
    The May 17, 2021 Declaration of David E. Myre in Support of Defendants’
 Opening Brief in Support of Their Renewed Motion for Attorneys’ Fees (the
 “Myre Fees Decl.”), filed herewith, includes highlighted excerpts of the invoices
 from Plaintiffs’ counsel and an appendix summarizing the same.

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  408, at 3.)
  Delaware rates should be used to                  Relied         W&C (national
  determine reasonable fees. (D.I. 387, at          primarily on   counsel)
  19.)                                              national       accounted for
                                                    counsel        over 80% of the
                                                                   hours for Plaintiff
  A blended rate of ~$870 / hour for                $871 / hour    Rates from $420
  Defendants’ national counsel (QE) is              blended rate   to $1,200 / hour
  unreasonable. (D.I. 387, at 19.)                  for QE         for W&C
  Defendants’ fees are “completely out of           ~$10.7 million ~$8.8 million
  proportion to the demands of this case.”
  (D.I. 387, at 1; D.I. 408, at 1.)


       This demonstrates the hypocrisy of Plaintiffs’ protests. It also establishes

 the reasonableness of Defendants’ fees incurred due to Plaintiffs’ reckless and

 greedy decision to pursue claims with the hope of forcing Messrs. Siebel and

 Schmaier to settle, rather than risk a career-ending outcome. Defendants’ fees are

 therefore recoverable under the Merger Agreement and Delaware law, and for the

 final time Plaintiffs should be held accountable for their actions and lack of

 credibility. Defendants respectfully request that the Special Master recommend an

 Order awarding Defendants $10,713,703.42 in fees and expenses incurred in

 defending against Plaintiffs’ meritless lawsuit.

                            FACTUAL BACKGROUND

 I.    Plaintiffs’ Aggressive Litigation Of Their Meritless Claims

       Lead-plaintiff Mr. Blattman is a former investment banker and hedge-fund

 founder with a long career on Wall Street. (D.I. 376, at 3.) He was the catalyst for



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 and driving force behind the lawsuit, and had a contract with other plaintiffs to

 receive an out-sized portion of any settlement or verdict. (Trial Tr. 1642:22-

 1643:22.) Mr. Blattman and other former E2.0 unitholders brought this action on

 October 28, 2014, and asserted claims for securities fraud, common law fraud, and

 breach of contract. (D.I. 1, 190.) Before this case was filed, when Plaintiffs first

 threatened suit, Defendants described the baseless nature of Plaintiffs’ claims and,

 in an attempt to persuade Plaintiffs to stand down, repeatedly warned that, if

 Plaintiffs proceeded, “they would have to pay C3’s legal fees.” (Trial Tr. 2494:13-

 15.)

        Despite these written warnings, Mr. Blattman proceeded to assist in drafting

 a complaint, obtained assignments from other E2.0 Unitholders to bring claims on

 their behalf, and then approved the filing of this action. (Trial Tr. 1642:22-

 1643:22.) Mr. Blattman’s incentive in doing so is clear: he wanted to unjustly

 enrich himself, under the terms of the assignments he negotiated, as he stood to

 gain an additional 10% of any recovery from Defendants in this lawsuit (after

 deducting attorneys’ fees). (Id.)

        The parties litigated this case heavily for over the next six years, engaging in

 significant document and written discovery, and arguing a multitude of motions

 and other disputes in this Court. (D.I. 381 (“Carlinsky Decl.”), ¶¶ 4, 15.) Among

 the many disputes were a number of unnecessary and failed motions brought by



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 Plaintiffs. (E.g., D.I. 293.) One of the most reckless motions was an ill-conceived

 and ultimately baseless attempt to level crime-fraud allegations against Mr. Siebel,

 in an effort to invade Defendants’ privileged communications. (See D.I. 291.)

 That motion, asserted without regard for the impact it could have on Mr. Siebel’s

 illustrious career and the C3 shareholders who relied on him as the steward of the

 company, is emblematic of Plaintiffs’ scorched-earth approach to the litigation,

 including their efforts to try to force a settlement by creating improper downside

 risks for Defendants. It was definitively rejected. (See D.I. 304.)

       Given Plaintiffs’ approach, Defendants had to take 15 fact depositions and 2

 expert depositions, and defend 12 fact depositions and 3 expert depositions.

 (Carlinsky Decl. ¶ 4.) The parties also exchanged over a half million pages of

 documents. (Id.) Prior to trial, Defendants repeatedly highlighted the dispositive

 flaws in Plaintiffs’ case, seeking to avoid further time and expenses incurred on

 this action by both the parties and the Court. (E.g., Trial Tr. 2494:7-15; D.I. 193;

 D.I. 314; D.I. 337.) Nevertheless, Plaintiffs pressed through trial, significantly

 increasing Defendants fees at each stage of the litigation.

 II.   The District Court’s Judgment For Defendants

       The District Court’s Memorandum Opinion provides a comprehensive

 summary of the claims and allegations raised by Plaintiffs, and the evidence and

 factual findings made by the District Court rejecting each and every one of those



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 claims following a seven-day bench trial in February 2019. (D.I. 376, at 51.) The

 District Court recognized that without the merger, E2.0 was set to “run out of cash

 by the end of February 2012, and thus Blattman deemed the company’s capital

 position to be ‘problematic’ going into 2012.” (Id. at 4.) It found that, in light of

 this, for Mr. Blattman and the other Plaintiffs their motivations were transparent:

 “[t]he entire thesis of [a merger] was to get stock early on in ... Siebel’s next

 multibillion dollar company.” (Id. at 8.)

       The Court then found that it was “evident from the credible testimony of

 Siebel, Schmaier, and [former E2.0 CEO Thomas] Scaramellino and from the

 emails and internal memoranda contemporaneous with the merger negotiations that

 C3 was honest and forthcoming in its dealings with E2.0.” (D.I. 376, at 44-45.)

 By contrast, the Court repeatedly found that Plaintiffs’ witness testimony was not

 credible given the “demeanor” of the witnesses and the fact that their testimony

 was “contradicted” by other credible evidence. (See, e.g., id. at 11, 21, 31.) As for

 Mr. Blattman, the lead Plaintiff who claimed to have been lied to during the

 merger negotiations, he was utterly discredited at trial. (Id. at 11 (“I [] will

 disregard Blattman’s testimony”); id.at 31 (the District Court “did not find”

 Blattman to be a “credible witness”).)

       After “find[ing] in favor of Defendants on all claims for relief” alleged by

 Plaintiffs, the Court appropriately found that Defendants are entitled to their fees



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 and costs under Section 7.3 of the Merger Agreement. (D.I. 376, at 51.)

 III.   The Third Circuit’s Affirmation Of The District Court’s Judgment

        After losing every claim at trial, Plaintiffs still forced C3 to continue

 litigating. Plaintiffs sought to overturn the District Court’s findings with respect to

 a single breach of contract claim against C3, claiming that this would exonerate

 them from their liability to pay Defendants’ attorneys’ fees. Plaintiffs even made a

 last-ditch effort to seek “nominal damages” of $1 for its claim to avoid paying such

 fees, but the Third Circuit rejected each of Plaintiffs’ arguments and affirmed the

 District Court’s order, including the award of reasonable attorneys’ fees and

 expenses. (3d Cir. Opinion, at 13.)

 IV.    The Appointment Of The Special Master To Determine Fees

        On March 25, 2021, the District Court recommended the appointment of a

 Special Master to determine the fees owed to Defendants. The District Court

 noted: “It occurs to me that any assessment of the reasonableness of Defendants’

 fees should involve a consideration of the amount of fees Plaintiffs incurred in

 litigation this case.” (D.I. 413, at 2.) Despite this, Plaintiffs remained steadfast in

 their refusal to disclose their own fees. (D.I. 414, at 3-4.)

        The District Court overruled Plaintiffs’ objection on April 30, 2021,

 ordering Plaintiffs to produce their attorneys’ fees and expenses spent in

 connection with their unsuccessful lawsuit. (D.I. 416, at ¶2.) The District Court



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 also appointed the Honorable Sue L. Robinson as Special Master to provide a

 report and recommendation on this motion. (Id., ¶1.)

       Plaintiffs produced the required invoices on May 10, 2021, which as

 described below confirm the reasonableness of Defendants’ fees.

 V.    The Fees Sought by Defendants

       As set forth in the cited declarations supporting this request, Defendants

 seek recovery of the following fees and disbursements:

                   Firm                        Atty Hours     Fees/ Disbursements
  Quinn Emanuel (Lead Counsel)                  11,772.7        $10,259,955.54
  Cooley LLP (Prior Lead Counsel)                 377.5           $148,434.31
  Morris, Nichols, Arsht & Tunnell, LLP           450.5           $293,102.35
  (Delaware Counsel)
  Potter Anderson & Corroon, LLP                  26.3             $11,799.73
  (Prior Delaware Counsel)
  Parkowski, Guerke & Swayze, P.A.                 0.7               $411.50
  (Conflicts Counsel)
  TOTAL                                         12,627.9          $10,713,703.42
                                    ARGUMENT

 I.    Applicable Legal Standard

       In cases involving fee-shifting provisions such as Section 7.3 of the

 applicable Merger Agreement, “[d]etermining reasonableness of amounts sought []

 does not require the Court to assess independently whether counsel appropriately

 pursued and charged for a particular motion, line of argument, area of discovery,

 or other litigation tactic.” Danenberg v. Fitracks, Inc., 58 A.3d 991, 997 (Del. Ch.

 2012) (citations omitted). Rather, a party seeking its fees carries its burden “by


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 showing that the services that [were] rendered were thought prudent and

 appropriate in the good faith professional judgment of competent counsel.” Id. at

 1000. Once such a showing is made, Delaware courts have warned that “[f]or a

 Court to second-guess, on a hindsight basis, an attorney’s judgment ... is hazardous

 and should whenever possible be avoided.” Id. at 997; Boeing Co. v. Spirit

 Aerosystems, Inc., 2017 WL 6021423, at *3 (Del. Super. Ct. Dec. 5, 2017).

       Moreover, “[m]any courts have held that a non-prevailing party’s attorneys’

 fees are relevant to the reasonableness of a prevailing party’s attorneys’ fees.”

 Kademani v. Mayo Clinic, 2012 WL 6014775, at *1 (D. Minn. Dec. 3, 2012); see,

 e.g., Coalition to Save our Children v. State Bd. of Educ. of the State of Delaware,

 143 F.R.D. 61, 64-66 (D. Del. 1992) (ordering production of “(1) defendant’s

 (attorneys and paralegals) time spent defending plaintiff’s claims; (2) billing rates;

 (3) total fees; (4) defendant’s out-of-pocket expenses; (5) information as to the

 number of hours that each attorney spent on each issue or area relating to this case

 which is being challenged by defendant; and (6) total of [defendant’s] attorneys’

 time spent conferring with each other on the issues litigated in this case,” because

 it is helpful in responding to defendants’ allegations that plaintiff’s attorneys’ fees

 are not “reasonable”); see also Cohen v. Brown Univ., No. CA 92–197 L, 1999 WL

 695235, at *1, 6 (D.R.I. May 19, 1999) (“Knowing how many hours Defendants’

 attorneys devoted to that same task may assist the court in determining whether



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 [plaintiff’s] hours were reasonable.”). Accordingly where, as here, Plaintiffs

 challenge the reasonableness of Defendants’ fees incurred, an assessment of the

 time spent and fees incurred by Plaintiffs’ own counsel is instructive. See id.

 II.   The Number of Hours Expended by Defendants’ Attorneys Was
       Reasonable.

       The volume of hours expended in this matter—spanning more than six

 years—was reasonable given the size and complexity of the litigation, the amount

 of money at stake, Plaintiffs’ aggressive litigation approach, and the extremely

 grave consequences to Defendants of failing to mount the required defense. See

 Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 553 (2010) (“the novelty and

 complexity of a case” should be “reflected in the number of billable hours recorded

 by counsel”). Further, where counsel’s time is “devoted generally to the litigation

 as a whole,” the prevailing party may recover all attorneys’ fees “related to the

 issues in this lawsuit”—even fees for unsuccessful motions and other proceedings.

 Liqwd, Inc. v. L’Oreal USA, Inc., 2019 WL 6840353, at *14-15 (D. Del. Dec. 16,

 2019) (quoting Hensley v. Eckerhart, 461 U.S. 424, 434-35 (1983)).

       This case involved complex claims for securities fraud, common law fraud,

 crime-fraud, and breach of contract. The fraud claims were tied to C3 accounting

 issues and required detailed analysis of internal financial information. The defense

 also focused on the state of Plaintiffs’ company, E2.0, and its financial distress.

 The case required significant document and written discovery, with Defendants


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 taking 17 and defending 15 depositions (including taking 2 and defending 3 expert

 depositions), preparing and arguing a multitude of motions and other disputes

 raised with the Court, and, not least, preparing for and conducting a contentious

 trial and defending the trial victory on appeal. (See Carlinsky Decl. ¶¶ 4, 15.)

 Plaintiffs sought significant damages, alleging a right to recover $68,750,000 plus

 substantial attorneys’ fees. (D.I. 190, at 53.) The effort spent on the litigation is

 reflected in the public docket, which now has 508 entries.

       Defendants’ attorneys dedicated 12,627.9 hours over six years to this

 litigation, for which Defendants incurred a total of $10,713,703.42 in attorneys’

 fees and related expenses, or around 16% of the amount in controversy.2

 (Carlinsky Decl. ¶¶ 14, 20, 24, 27-28, Appendices A-E; D.I. 403 (“Myre Decl.”) ¶

 15.) This number of hours expended by Defendants’ counsel is 1,000 hours less

 than the amount of time spent by Plaintiffs’ attorneys in addressing the identical

 set of claims and issues, (see Myre Fees Decl., Appendix A), which itself confirms

 that the number of hours expended by Defendants’ counsel was reasonable. E.g.,



 2
    Notably, demonstrating how Defendants closely managed the attorney time and
 expense spent on this matter to ensure it was reasonable, Cooley attorneys spent
 more than 750 hours incurring over $400,000 in fees and expenses associated with
 defending this suit. However, Defendants, without prompting from either the
 Court or Plaintiffs, negotiated a significant reduction of Cooley’s fees (reducing
 total fees and expenses by more than one-half), now to the benefit of Plaintiffs,
 since Defendants only seek recovery of the reduced amount of $148,434.31.


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 Coalition to Save our Children, 143 F.R.D. at 64-66.

       Empirical data supports this same conclusion. For example, a 2019 study of

 fee awards in securities class actions3 found that attorneys devoted about 11,000

 hours on average to cases that settled for around $40 million. See New York

 University School of Law, “Working Hard or Making Work? Plaintiffs’ Attorneys

 Fees in Securities Fraud Class Actions” (2019) at 44, Table 2. Such cases resulted

 in an average fee award of $9.7 million (24% of the total settlement), for an

 implied hourly fee of $864. Id. In other words, the hours Defendants expended

 through trial in this matter are comparable to the hours, hourly rate, relative cost,

 and overall cost typically expended to settle a securities class action worth only

 two-thirds as much.

       Indeed, courts have awarded nearly twice as much in fees as Defendants

 seek here for cases in the same range. See NERA Economic Consulting, “Recent

 Trends in Securities Class Action Litigation: 2017 Full-Year Review” (2018), at

 34, Table 1 (reporting fee awards of $17.3 million, $19.1 million, and $25.4

 million on settlements ranging from $56 million to $74 million). Cases in other

 areas of law require similar resources for similar amounts in controversy. See

 American Intellectual Property Law Association, Report of the Economic Survey


 3
    Securities class actions involve comparable issues, and are one of the few types
 of litigation for which hour and fee information is regularly available, since
 plaintiffs’ fees typically must be approved by the Court.

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 (2019) at I-145 (finding that patent cases with over $25 million in controversy—

 around a third of the amount in controversy here—can cost $11.4 million through

 appeal), I-220 (finding that trade secret cases with over $25 million in controversy

 can cost $8 million through appeal). Thus, the number of hours Defendants have

 expended, and fees incurred, are comparable to (or less than) similar litigation, and

 the hours incurred are in fact are less than Plaintiffs spent on this case. Especially

 given the complexity of this litigation, and the result obtained, the time spent by

 Defendants’ counsel is reasonable.

 III.   Defendants’ Attorneys’ Rates Are Reasonable

        The rates charged by each firm retained by Defendants was reasonable given

 the quality and expertise of each firm, and in light of prevailing market rates

 charged by similar firms, the applicable standard in this circuit. See Interfaith

 Cmty. Org. v. Honeywell Intl’l, Inc., 426 F.3d 694, 708 (3d Cir. 2005), as amended

 (Nov. 10, 2005). Indeed, “an attorney’s usual billing rate” is presumed to be “the

 reasonable rate, provided that this rate is in line with those prevailing in the

 community for similar services by lawyers of reasonably comparable skill,

 experience and reputation.” Kattan ex rel. Kattan v. District of Columbia, 995

 F.2d 274, 278 (D.C. Cir. 1993); see also Perdue v. Kenny A. ex rel. Winn, 559 U.S.

 542, 554 (2010). Defendants’ counsel charged their usual billing rate and, more

 often than not, significantly discounted rates for their services to Defendants. The



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 rates charged to Defendants are reasonable for the following reasons:

       A.     Quinn Emanuel’s Rates

       Quinn Emanuel acted as lead counsel for Defendants. Quinn Emanuel’s

 hourly rates ranged from $370 per hour for a law clerk to $1,395 per hour for the

 lead partner. (Carlinsky Decl., Appendix A; Myre Decl., ¶ 8.) These reflect an

 across-the-board 10% discount on Quinn Emanuel’s typical rates. (Myre Decl.,

 ¶ 7-8.) The total amount billed divided by total hours worked reflects an effective

 blended rate of $871.50.

       Quinn Emanuel’s rates are in line with the those of Plaintiffs’ lead national

 counsel, Williams & Connolly. For example, a review of Williams & Connolly’s

 invoices shows that the rates for their attorneys ranged from approximately $365

 for law clerks to $1,200 for lead trial counsel. (Myre Fees Decl., at Ex. A.) This

 data confirms the reasonableness of Defendants’ fees. Cf. SRI Int’l, Inc. v. Cisco

 Sys., Inc., 254 F. Supp. 3d 680, 723 n.58 (D. Del. 2017).

       The rates charged by Quinn Emanuel partners—which averaged $1,056 an

 hour in 2019 (the year of the trial) (Carlinsky Decl. ¶ 7), are in fact lower than

 average partner billing rates at other top national firms. For example, according to

 a 2017 ALM Billing Report, the average hourly rate for a partner in 2017 (three

 years ago) was $1,135 per hour at Sidley Austin, $1,115 per hour at Kirkland &

 Ellis, and $1,320 per hour at Paul, Weiss. National Law Journal, ALM Legal



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 Intelligence, NLJ Billing Report (2017) (“2017 NLJ Billing Report”) at 9, 16, 18.

 Further, the vast majority of the work in this case was performed by partners

 billing below the average rate: 2,296.7 partner hours billed at rates below $1,056

 compared to 1,024.3 hours billed at rates above the average.

       Similarly, the average $678.38 per hour rate charged by the associates on the

 Quinn Emanuel team as of 2019 is lower than associate rates at comparable firms:

 $735 per hour at Kirkland & Ellis and $995 per hour at Paul, Weiss (again, in

 2017) at 9, 18.4 (Compare Carlinsky Decl. ¶ 7 with 2017 NLJ Billing Report.)

       Finally, courts have regularly found Quinn Emanuel’s rates to be reasonable.

 Recently, this Court awarded Quinn Emanuel’s client over $11 million in fees,

 where the “fees charged for the core attorneys range from their highest hourly rates

 of $705.00 to $1,040.” Liqwd, 2019 WL 6840353, at *12.5 Accordingly, the rates

 for Plaintiffs’ national counsel, empirical studies, and prior case law all confirm


 4
    Sidley Austin’s associate rates are not reported on the 2017 NLJ Billing Survey.
 5
    See also Report and Recommendation of Special Master, Transweb, LLC v. 3M
 Innovative Props. Co., No. 10-cv-04413-FSH (D.N.J. Sept. 24, 2013) (ECF No.
 567) (ruling finding Quinn Emanuel’s total fees of $26,146,493.45 were
 reasonable); Notice of Ruling on Quinn Defendants’ Motion for Award of
 Attorneys’ Fees, Lockton v. O’Rourke, Case No. BC361629 (Cal. Super. Ct. Feb.
 23, 2011); Order Granting Plaintiff’s and Plaintiffs in Intervention’s Motions for
 Attorneys’ Fees, Monrovia Nursery Co. v. Rosedale, Case No. BC351140 (Cal.
 Super. Ct. Jan. 12, 2009); Civil Minutes re: Order Granting Motion for Attorneys’
 Fees, Riverside Cnty. Dept. of Mental Health v. A.S., Case No. 08-cv-00503-ABC
 (C.D. Cal. Feb. 22, 2010) (ECF No. 123); Order Approving Interim Fee Requests
 Regarding Professionals, In re Am. Home Mortgage Holdings, Inc., Case No. 07-
 11047, Dkt. 3695 (Bankr. D. Del. Apr. 14, 2008).

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 the reasonableness of Quinn Emanuel’s rates in this case.

       B.     Cooley’s Rates

       Cooley acted as lead national counsel for Defendants from commencement

 of the litigation until Quinn Emanuel’s engagement in August 2016. Cooley’s

 hourly rates for this matter ranged from $382.50 per hour for a junior associate to

 $985.50 per hour for the lead partner. (Carlinsky Decl., Appendix B.) These

 reflected an across-the-board 10% discount on Cooley’s typical rates. (See id.,

 ¶ 18, Appendix B.) The total amount billed divided by total hours worked reflects

 an effective blended rate of $393.20.

       The Cooley partners who worked on this matter charged an average rate of

 $906.75 per hour. (Id.) These hourly rates were lower than the average partner

 billing rates at other top national firms, which as discussed above, frequently

 exceed $1,100. 2017 NLJ Billing Report at 9, 16, 18. Finally, as noted below,

 Defendants negotiated a significant reduction in Cooley’s fees on this matter

 meaning that many hours were expended at no cost whatsoever.

       C.     Delaware Counsel’s Rates

       Morris Nichols has acted as Delaware counsel for Defendants since August

 2016. Morris Nichols staffed this matter with only two attorneys: partner Kenneth

 J. Nachbar, one of the leading trial lawyers in Delaware, and senior associate

 Lauren K. Neal. Mr. Nachbar’s highest rate in this matter was $1,150 and Ms.



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 Neal’s highest rate was $640. (Myre Fees Decl., Appendix B.) Mr. Nachbar’s rate

 is comparable to the rates of other prominent Delaware partners in 2017, and Ms.

 Neal’s rate is lower than the highest Delaware associate rates reported in 2017,

 despite her seniority. 2017 NLJ Billing Report at 16. Mr. Nachbar and Ms. Neal’s

 skill and experience also allowed them to manage all aspects of their role in this

 case with efficiency. Together, Mr. Nachbar, Ms. Neal, and all of their staff spent

 only approximately 450 hours on this matter over six years, incurring a modest

 $293,102.35—and much of that was to attend trial. (Carlinsky Decl. ¶ 24 &

 Appendix C; Myre Decl. ¶ 19 & Appendix B.)

       The fees charged by Potter Anderson and Parkowski, Guerke reflect

 effective blended rates of $448.66 and $587.14, respectively. (Carlinsky Decl.

 ¶¶ 27-28, Appendices D-E.) These rates are lower than average blended rates at

 comparable Delaware firms. 2017 NLJ Billing Report at 2-3, 15-16. Especially

 given the efficiency with which these firms performed their respective roles—

 billing Defendants for less than 30 hours combined—their rates are reasonable.

 (Carlinsky Decl. ¶¶ 27-28, Appendices D-E.)

 IV.   The Remaining Arguments Plaintiffs Have Advanced In Prior Briefing
       Lack Merit

       In addition to their complaints about the hours spent and rates incurred by

 Defendants’ counsel—since proven to be disingenuous following the District

 Court’s requirement that Plaintiffs disclose this information for their own


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 attorneys—the other arguments that Plaintiffs have raised in past briefing before

 the District Court are similarly without merit.

       For example, Plaintiffs have argued that Defendants seek to recover fees for

 “unnecessary legal expenditures” (D.I. 408, at 3), such as fees related to

 Defendants’ motion for bond (id. at 6-7), fraud and contract claims brought by

 Defendants (D.I. 387, at 8-9), the holdback claim that Defendants prevailed on (id.

 at 10-11), and services provided to the former E2.0 CEO. (Id. at 11-12.) But

 Delaware law does not permit such parsing of tasks as Plaintiffs seek to do—to the

 contrary, “[a]bsent any qualifying language that fees are to be awarded claim-by-

 claim or on some other partial basis,” courts apply contractual fee-shifting

 provisions “in an all-or-nothing manner.” Greenstar, LLC v. Heller, 934 F. Supp.

 2d 672, 697 (D. Del. 2013); see D.I. 392 at 4-7. As per the terms of Section 7.3 of

 the Merger Agreement, which Plaintiff negotiated and signed, Defendants are

 entitled to recover all reasonable fees they incurred. And this Court should not

 “second-guess, on a hindsight basis, an attorney’s judgment” in pursuing such

 courses of action, particularly where (as here) the strategic decisions made by

 Defendants’ counsel led to the complete rejection of all Plaintiffs’ claims.

 Danenberg, 58 A.3d at 997.

       Similarly, Plaintiffs previously argued that Defendants should not be entitled

 to recover fees spent in representing former C3 employees during depositions in



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 discovery. (See D.I. 387 at 14.) But once again, Plaintiffs May 10, 2021

 production confirms that Plaintiffs’ counsel did exactly the same thing. (E.g.

 Myre Fess Decl. Ex. A, at bates 666 (discussing Plaintiffs’ counsel’s representation

 of prior E2.0 employees such as Andy Frank and Zeke Hausfather.) Courts have

 confirmed that this is a common and appropriate practice, and Plaintiffs therefore

 cannot raise any credible issue with their obligation to reimburse Defendants for

 fees incurred in this manner. E.g. Nat’l Union Fire Ins. Co. of Pittsburgh, PA v.

 Stauffer Chem. Co., 1990 WL 177644, at *2 (Del. Super. Ct. Oct. 23, 1990).

       Finally, Plaintiffs have alleged that Defendants’ bills are heavily redacted

 and block billed, preventing their assessment of the fees at issue. (See D.I. 387 at

 17-18; D.I. 408 at 8.) For the final time, Plaintiffs’ own conduct betrays them, as

 they have done the exact same thing in their May 10, 2021 production. (See Myre

 Fees Decl. Ex. A.) Even if that were not the case, courts have recognized that

 block billing is only a problem when it is necessary to deduct one or more tasks

 from an entry. See U.S. ex rel. Raggio v. Seabord Marine Ltd., 2017 WL 2591288,

 at *7 (D.D.C. May 4, 2017) (“[B]lock billing entries do not always suffer from

 inadequate description. Their infirmity stems from the fact that they represent

 activities lumped together in a single entry with no indication how much time was

 spent on each task.”). Since Defendants are entitled to recover all reasonable fees

 incurred in the litigation, block billing presents no obstacle to the Court’s review.



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 Similarly, the purported excessive redactions did not prevent Plaintiffs from

 identifying specific categories of expenditures they consider excessive or

 unnecessary. Defendants’ invoices provide both the time spent on the redacted

 tasks as well as appropriate, not-privileged context.

                                   CONCLUSION

       For these reasons, Defendants respectfully request that the Special Master

 recommend an award to Defendants of reasonable attorneys’ fees and

 disbursements in the amount of $10,713,703.42.




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 Dated:      May 17, 2021

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